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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  UNITED STATES OF AMERICA,                   )    CRIMINAL NO. 24-MJ-00143-KAS
                                              )
                                              )
            v.                                )
                                              )
                                              )
  TEAK BROCKBANK,                             )
   a/k/a “TEAK TY BROCKBANK,”                 )
           Defendant                          )

                        GOVERNMENT’S MOTION FOR DETENTION

        The United States of America respectfully moves for an order to detain Defendant Teak

 Brockbank, who poses a danger to public officials throughout Colorado and elsewhere, to federal

 law enforcement, and to his fellow citizens.

                                    FACTUAL BACKGROUND

        In or about late 2021, Defendant began to express his view that violence against public

 officials was necessary, and over the course of the following years he publicly and repeatedly

 threatened the lives of election officials, state judges, and federal law enforcement agents on social

 media accounts.

        •        For example, on August 4, 2022, Defendant posted: “People like [Arizona Election

                 Official-1] and [Colorado Election Official-1] . . . . Once those people start getting

                 put to death then the rest will melt like snowflakes and turn on each other. . . . This

                 is the only way. So those of us that have the stomach for what has to be done should

                 prepare our minds for what we all [a]re going to do!!!!!! It is time.”

        •        Defendant posted as follows about a Colorado state judge on October 2, 2021: “I

                 could pick up my rifle and I could go put a bullet in this Mans head and send him

                 to explain himself to our Creator right now. I would be Justified!!! Not only justified

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                but obligated by those in my family who fought and died for the freedom in this

                country. . . . What can I do other than kill this man my self? No one will do it for

                me . . . .”

        •       Finally, Defendant threatened federal law enforcement on July 20, 2022, posting:

                “ATF CIA FBI show up to my house I am shooting them peace’s of shit first No

                Warning!! Then I will call the sheriff!!! With everything that these piece of shit

                agencies have done I am completely justified to just start dropping them as soon as

                they step on my property! justified.”

 When agents with the Federal Bureau of Investigation contacted him in late 2023 about these and

 other threatening social media posts he had issued, he responded that FBI “are scum,” hung up the

 phone, and continued until as recently as the last few months to post threatening messages targeting

 federal law enforcement and Colorado Election Official-1 (often using a new social media

 platform). Defendant, a convicted felon, was also in possession of multiple firearms until agents

 executed a search warrant at his residence on August 23 and he stated as recently as November

 2023 that he does “not go anywhere without a firearm.” Because Defendant is a dangerous threat

 to the community—to public officials, law enforcement, and others—the Court should detain him

 pursuant to 18 U.S.C. § 3142.

 I.     Defendant’s Threatening Communications

        On August 4, 2022, Colorado Election Official-1’s Office circulated to Colorado-based

 federal law enforcement authorities a series of threatening communications that targeted Colorado

 Election Official-1 and Arizona Election Official-1. The posts were issued by an individual with

 the user name “Teakty4u” on two social media platforms: (1) Rumble (a social media provider

 that functions like YouTube) and (2) Gab (a social media provider that functions like X, formerly



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 Twitter). A subsequent federal investigation unearthed numerous additional threatening posts and

 other communications targeting these same two public officials, state judges, federal law

 enforcement authorities, and others. During a post-arrest interview on Friday, August 23, 2024,

 when he was shown copies of some of the threatening communications contained in the complaint,

 Defendant admitted that he controlled the relevant accounts and issued the communications

 (“You’re asking me if someone else could have posted, I don’t think so . . . . [I]f it’s talking about

 accountability for corrupt people, I did it. You don’t see me on there saying that good people

 should be shot in the head by firing squad, do you?”).

        The complaint affidavit, ECF No. 6, provides a detailed recitation of the relevant

 threatening communications and the government will not repeat each of those allegations here.

 But a handful of the communications described in the complaint as well as some additional

 communications (some quite recent) that were not included in the complaint merit emphasis here.

        A.      Defendant’s Threats to Election Officials

        Over the course of the last few years, Defendant has repeatedly threatened Colorado

 Election Official-1 and Arizona Election Official-1, and he continued to threaten Colorado

 Election Official-1 as recently as this month.

        For example, in September 2021, in response to a post about Colorado Election Official-1

 purportedly “[d]estroy[ing]” election data, Defendant posted on Gab:

                I live in Communist Colorado and this Crazed liberal and many
                others in Communist Colorado needs to- No has to Hang she has to
                Hang by the neck till she is Dead Dead Dead. There will be
                accountability for these peoples actions in Communist Colorado and
                it won’t be judges and it won’t be weakmided [sic] cops that bring
                it!!! It will be Me it will be You it Will be every day people that
                understand that there life does not matter anymore with the future
                our country has laid out before it by Robber Barons /Unelected
                Bureaucrats/ Libtards. . . .



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 That same day, he issued another post on Gab about Colorado Election Official-1:

              I live in Communist Colorado. [Colorado Election Official-1] and
              many others have to HANG. These people have to hang by the neck
              till they are Dead Dead Dead . . . No One else is going to do it for us
              we will have to do it ourselves!!!!! Grow some balls realize that your
              future is screwed anyways but you can make it better for others …
              Mark My Words.

        Defendant continued threatening Colorado Election Official-1, and began threatening

 Arizona Election Official-1, in 2022. When other users suggested violence and rebellion in August

 2022, Defendant agreed in this Rumble post:

               You’re exactly right 100% on target!! People just like [Arizona
               Election Official-1] and [Colorado Election Official-1] Our
               communist!! They are bought and paid for by people like George
               Soros Mark Zuckerberg and they’re like!! What these people are
               doing is treason subversion of the American people’s will!! There is
               no other answer but to execute these people for their actions!! There
               has to be accountability or this country is lost.”

 That same day, also on Rumble, he added:

               [W]e the people that know the truth of things need to go get those
               that we know that are guilty. People like [Arizona Election Official-
               1] and [Colorado Election Official-1].. Once those people start
               getting put to death then the rest will melt like snowflakes and turn
               on each other and we will just sit back why the worst of them get
               pointed out and we put them against the wall as well… MARK MY
               WORDS.. This is the only way. So those of us that have the stomach
               for what has to be done should prepare our minds for what we all
               Are going to do!!!!!! It is time..

 Defendant left no ambiguity that he was threatening unlawful violence, making clear that he was

 not advocating for state-sanctioned legal process but lawless executions in this Rumble post from

 July 2022:

               I’ll truly believe there is no other way to fix this mess in Colorado
               and places like Arizona without executing these evil people. The
               people have to take matters into their own hands. People like the
               secretary of state of Colorado the secretary state of Arizona have to



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                be put to death. Not to court trials and crooked judges Incompetent
                law-enforcement. . . .

        Defendant’s focus on holding officials “accountable” by personally executing them

 continued in 2023. In January 2023, he posted on Rumble, “I promise you all this. [Arizona

 Election Official-1] does not want anyone to put a bullet in her head/ kill her and all those that

 helped her! I’m pretty positive [Arizona Election Official-1] and those like her do not want any of

 us to find them and hold them accountable for their Actions ourselves . . . .” That same day, he

 posted on the comment thread of another Rumble video depicting Arizona Election Official-1’s

 swearing-in ceremony: “Death For her and all those that are in it with her there is no other solution

 she hast to die!! We have to kill all these people and remove them and remind those that wanna be

 like them there is punishment for their actions. Permanent punishment!!!”

        And as recently as last month, July 2024, Defendant continued to threaten Colorado

 Election Official-1 using an account on social media provider Truth Social (with username

 “Teakty4U”). In the below post, Defendant focused on the Colorado Election Official-1’s role in

 the recent prosecution of a former Mesa County Clerk and Recorder:




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                Constitution by Congress!!!!!!! I could pick up my rifle and I could
                go put a bullet in this Mans head and send him to explain himself to
                our Creator right now. I would be Justified !!! Not only justified but
                obligated by those in my family who fought and died for the freedom
                in this country. . . .i’ve watched been going on and what is going on
                in our community . We know what he is doing and We know what
                he is??? What can I do other than kill this man my self? No one will
                do it for me I do live in Communist Colorado…

 In a text message from September 2021 that the government obtained pursuant to an Apple iCloud

 warrant, Brockbank threatened this same judge: “There is a judge in our courthouse that is still

 forcing people to wear masks!! He needs to be held accountable. Before he even did all this he was

 already on my list for being a crook in a powerful position but now I am justified!!!”

        A similar text message Defendant sent in March 2022 reflected his intent to execute judges:

                I’ve had a lot of judges judge me. And they were wrong so I think
                people like me should and have to start doing the judging here on
                earth. They will explain themselves to our creator and people just
                like me will arrange the meeting! That’s the only way God fearing
                patriots will be able to live in peace . . . till the end of our days is if
                we start holding accountable the wicked ourselves because no one‘s
                gonna do it for us here on earth!!

        More recently, in December 2023, Defendant threatened Colorado Supreme Court judges,

 when he texted another individual, “Four judges in Colorado have removed President Trump from

 the ballot in Colorado. their names have been added to my list.....”

        C.      Defendant’s Threats to Federal Law Enforcement

        Finally, Defendant has repeatedly (and recently) threatened the lives of federal law

 enforcement agents. Indeed, great precautions were undertaken last week to ensure the safety of

 agents who executed Defendant’s arrest warrant and the search warrant at his residence.

        In July 2022, Defendant posted on Gab: “ATF CIA FBI show up to my house I am shooting

 them peace’s of shit first No Warning!! Then I will call the sheriff!!! With everything that these

 piece of shit agencies have done I am completely justified to just start dropping them as soon as

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 they step on my property! justified.” Subsequently, in August 2022, Defendant posted on Gab,

 “AR15 is a civilian weapon. Single fire! IRS agents will be Carrying military grade weapons.

 AR16s and up. Full Auto! For every five rounds you shoot IRS agents will be able to put whole

 30 round magazines down range at you!!! If you have to engage these communist do it from Range

 with a ranged weapon. The larger the caliber the better . . . .” And in June 2024, using his Truth

 Social account, Defendant posted the following about Internal Revenue Service agents:




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        These and other posts deeply concerned federal agents tasked with executing the arrest

 warrant for Defendant and the search warrant for his residence. Agents ultimately elected to arrest

 Defendant in a safe location away from his residence. During his post-arrest interview on August

 23, Defendant provided his perspective on why agents had not arrested him at his home: “The only

 reason you guys didn’t come to my house is because you knew I would have fought. . . . You guys

 only kick people’s doors in that you know won’t fight back. The only reason you don’t go after

 people like me [is] because you know we wouldn’t leave, we wouldn’t go with you.”

        D.      Defendant’s Private Expressions of an Intent to Engage in Unlawful Violence

        In addition to many of the above-described publicly posted threatening communications,

 Defendant has for years also privately expressed a strong desire to personally engage in acts of

 unlawful violence (to, in his own words, hold officials “accountable”).

        For example, in March 2022, he sent a text message to a family member expressing

 frustration that they were preventing him from personally executing government officials:

                 [Y]ou all know I’m right. . . . The only way to stop the wicked is
                 for good men to kill them so other wicked men are afraid to be
                 wicked. You’ve always helped me but recently I feel like you guys
                 are only trying to stop me from holding those people I know are
                 guilty that in my community accountable!! Because you guys know
                 they’re guilty as much as I do because I told you the things I was
                 seeing and hearing with my own eyes in my own ears. You guys
                 know I’m justified and that I’m right so you’re only trying to buy
                 me off the kick the can down the road. This country is going to face
                 plant soon and when it does nothing is gonna stop me in those like
                 me from doing what needs to be done we are not our fathers weak
                 minded fools . . . .

 Subsequently, in September 2023, he explained to his stepfather in a text message that his

 stepfather was “right to worry [about Defendant]! when you and mom die because of your jab. I

 will want accountability for those that I know that are guilty and nothing will be stopping me then

 because you guys will be gone!”

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         Defendant has even threatened members of his own family. In one text message to a family

 member in September 2023, he wrote, “[I]f you, your brother, or anyone else ever trys to kick me

 out of this house after throwing my life away to be here all the time I will end that person’s life,

 and whoever else is helping them kick me out.. like, if your brother ever trys to kick me out in a

 few years after Grandma’s dead, I will kill him. I will hunt him down and take his life. . . . So I

 want you to know I am preparing myself mentally the hope [sic] you folks accountable!”

         Privately, Defendant has also explained that he would do anything in his power to avoid

 being subjected to criminal process, and he has expressed a disdain for the American legal system.

 For example, in August 2023, after he was turned down for a firearm purchase because of his prior

 felony, he told his stepfather in a text message, “Why are you so concerned about following this

 overthrown government[’]s laws that do not even make sense, and that are only to hold us

 down..why do you keep insisting on worrying about and following this overthrow governments

 laws???” Subsequently, after complaining about the justice system and the amount of time he had

 spent in jails and prisons over the course of his life, Defendant explained in an April 2024 text

 message to a friend that he would “never allow myself to be locked inside 4 walls by the corrupt

 people that is our justice system.” And in an earlier June 2021 message, Defendant echoed that

 message: “I will never be put in jail again. Never it will not happen I will not submit to crooked

 judges crooked cops crooked laws crookedness!”

         Recently, Defendant has indicated that he believes that his time is running short. In a text

 message to a family member from May 2024, he wrote: “[I]’ve had the feeling for sometime that

 my life here on earth is limited and I’m running out of time. . . I think about it often and what I

 should do about it . . . .”

         E.      Defendant’s Possession of Firearms



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        Defendant has been a convicted felon for over two decades, and therefore cannot possess

 firearms. He knew as much, texting his stepfather in September 2023 as follows: “I have a felony

 for receiving stolen property, a class five felony.” 2 But Defendant’s communications and

 photographs in his Apple iCloud account, as demonstrated in the complaint, reflect that he has

 regularly possessed firearms for at least the last five years. During the execution of a search warrant

 at Defendant’s residence on August 23, agents located approximately six firearms spread out in

 Defendant’s closet as well as right near his front door. There was so much ammunition in the

 residence that agents elected not to count it. The firearm near the front door, moreover, was loaded

 and cocked:




 Images of some of these weapons and related accessories (including a sight) appear below:




 2
  During his post-arrest interview, however, Defendant contended that he is not a convicted felon.
 He falsely explained that he was told that the only reason he could not purchase firearms is because
 of “unpaid fines” and because he had a “class five misdemeanor.”
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 Defendant left no doubt in his post-arrest interview that the firearms belonged to him. He was

 asked, “Does anybody store a gun at your house?” Defendant responded, “No, just me.”

                                       LEGAL STANDARD

        The Bail Reform Act provides, in relevant part, that if a judicial officer “finds that no

 condition or combination of conditions will reasonably assure . . . the safety of any other person

 and the community, such judicial officer shall order the detention of the person before trial.” 18

 U.S.C. § 3142(e)(1). In determining whether any conditions of release will reasonably assure the

 safety of others and the community, the court must “take into account the available information

 concerning” four factors set out in 18 U.S.C. § 3142(g). These factors are: (1) the nature and

 circumstances of the offense charged, including whether the offense is a crime of violence; (2) the

 weight of the evidence; (3) the history and characteristics of the defendant; and (4) the nature and

 seriousness of the danger to any person or the community that would be posed by the person’s

 release. See 18 U.S.C. § 3142(g).

        The government moves to detain Defendant pursuant to 18 U.S.C. § 3142(f)(1)(A) because

 the current interstate threat charge is a “crime of violence,” see United States v. Dai, No. 3:23-CR-

 478, 2023 WL 11016392, at *4 (N.D.N.Y. Dec. 19, 2023) (holding that “§ 875(c) is a crime of

 violence under the Bail Reform Act”) as well as pursuant to 18 U.S.C. § 3142(f)(2)(B) because

 this case involves a serious risk that Defendant will “threaten, injure, or intimidate, or attempt to

 threaten, injure, or intimidate, a prospective witness.”

        Section 875(c) provides: “Whoever transmits in interstate or foreign commerce any

 communication containing any threat to kidnap any person or any threat to injure the person of

 another, shall be fined under this title or imprisoned not more than five years, or both.”




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         A.      The Nature and Circumstances of the Offense

         The nature and circumstances of the offense here are extremely serious, and demonstrate

 that Defendant is a danger to public officials and officers as well as to the community at large. For

 years, Defendant has communicated death threats toward election officials, state judges, federal

 law enforcement, and others. These threats have been vicious and terrifying, and have resulted in

 multiple reports to federal law enforcement. Defendant has promised to undertake this violence

 himself: “It will be Me”; “[W]e will have to do it ourselves”; “So those of us that have the stomach

 for what has to be done should prepare our minds for what we all Are going to do”; “We have to

 kill all these people.” He has, moreover, targeted specific officials for retribution (he even claims

 to have a “list”) and has incited others to engage in similar violent activity.

         Defendant posted many of these threats on the Internet. But the Tenth Circuit has explained

 in a similar case that

         [s]everal attributes of the Internet substantially amplify the fear an individual can
         instill via threats or incitement. Such threats have the ability to reach a vast
         audience—far more than the traditional speaker or author published in a single
         venue. The threats may often come cloaked in anonymity, allowing authors to make
         menacing statements they would never consider making to an individual in person.
         And, given the prevalence and diversity of Internet fora and discussion boards, such
         exhortations may often find a receptive audience of like-minded individuals—
         perhaps audiences more willing to do the bidding of one urging violent action.

 United States v. Wheeler, 776 F.3d 736, 745 n.4 (10th Cir. 2015). Here, the fact that Defendant’s

 posts were made on the Internet could have rendered them more terrifying for victims, particularly

 given that Defendant would have remained anonymous had the government not ascertained his

 identity.

         Finally, Defendant’s possession of and strong attachment to firearms (“I do not go

 anywhere without a firearm”) only amplifies the physical danger he poses to others.




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           B.     The Weight of the Evidence

           The evidence concerning both the threats and the anticipated felon-in-possession charges

 in this matter, moreover, as demonstrated above, is very strong.

           With regard to the threat charges, a “true threat” is “a serious expression of an intent to

 commit an act of unlawful violence to a particular individual or group of individuals.” Virginia v.

 Black, 538 U.S. 343, 344 (2003). The government does not have to prove that the defendant

 actually intended to carry out the threat, id., or even that the defendant had the ability to do so, see

 United States v. Heineman, 767 F.3d 970, 975 (10th Cir. 2014). A true threat does not need to be

 communicated directly to its intended victim, see United States v. Martin, 163 F.3d 1212, 1216–

 17 (10th Cir. 1998) (“This court has not required that true threats be made directly to the proposed

 victim”), or specify when it will be carried out, see United States v. Martin, 163 F.3d 1212, 1214

 (10th Cir. 1998); see also United States v. Parr, 545 F.3d 491, 497 (7th Cir. 2008). The

 communication must be one that a reasonable observer, considering the context and circumstances

 of the statement would interpret as a true threat. See Counterman v. Colorado, 600 U.S. 66, 82

 (2023).

           At trial, the government will need to prove the following elements beyond a reasonable

 doubt:

    1. The defendant knowingly transmitted a communication;

    2. The communication contained a true threat to injure any person;

    3. The defendant transmitted the communication [a] with the purpose of making a true

           threat; [b] with knowledge the communication would be understood as a true threat; or

           [c] in conscious disregard of a substantial and unjustifiable risk that the communication

           would be understood as a true threat; and



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    4. The communication was transmitted in interstate commerce.

 See Counterman, 600 U.S. at 74, 79; Black, 538 U.S. at 359-60.

        First, the government will be able to prove that Defendant knowingly transmitted the

 threatening communications. Defendant has admitted to controlling the Gab and Rumble accounts

 discussed above. During his post-arrest interview, moreover, he admitted that he issued many of

 the communications described in the complaint and in this memorandum. Even if he had not made

 these admissions, the complaint identifies the significant nexus between the accounts and

 Defendant’s personal identifiers, personal devices, and residence. See ECF No. 6 at ¶¶ 12-24.

        Second, there is powerful evidence that Defendant’s communications described throughout

 the complaint and in this memorandum were true threats. Particularly when viewed collectively,

 Defendant’s communications qualify as serious expressions conveying that the speaker means to

 commit an act of unlawful violence. Both publicly and privately, Defendant made clear that he

 believed violence was the necessary solution to the problems that he perceived to be plaguing the

 United States. And he was clear that he would participate in that violence, and that he would direct

 it at particular individuals. Defendant was not merely play-acting or posturing to develop a tough

 Internet persona. At one point in 2021, he repeatedly posted (and sent text messages to multiple

 contacts containing) a quotation about “Men who wanted to be left Alone.” In the quotation,

 Defendant explained that such men “fight with raw hate, and a drive that cannot be fathomed by

 those who are merely play-acting at politics and terror. TRUE TERROR will arrive at the Left’s

 door, and they will cry, scream, and beg for mercy . . . . but it will fall upon deaf ears.” Defendant

 was serious, and his threats were serious.

        Third, at the very least, Defendant acted with conscious disregard of a substantial and

 unjustifiable risk that the communication would be understood as a true threat. For example, at



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 least one victim’s staff on multiple occasions forwarded some of Defendant’s communications to

 federal investigators. In one email forwarding these communications, an official explained that the

 posts had a “violent tenor.” The official feared that the individual (at that time, Defendant’s identity

 was unknown) “was planning to come into contact” with election administrators. Defendant’s

 unlawful ownership of firearms, moreover, reinforces the inference that he possessed the intent to

 engage in unlawful violence. See United States v. Wolff, 370 F. App'x 888, 898 (10th Cir. 2010)

 (“Similarly, in this case, Defendant admits to writing and mailing the statements at issue, but

 contends they were not true threats, merely political rhetoric. We conclude the evidence of

 Defendant's possession and placement of firearms and ammunition in his residence and vehicle

 goes to whether he possessed the intent and ability to carry out his threat of lethal force against

 those authorities sent to foreclose on his residence, which is probative of his state of mind and

 tends to counter his benign purpose defense.”).

        Finally, the communications traveled in interstate commerce. There is strong reason to

 believe that Defendant was located in Colorado at the time of each of the communications in the

 proposed indictment, including bank records and historical cell site location information. And

 neither Gab nor Rumble have servers in Colorado. Accordingly, his communications over those

 platforms necessarily crossed state lines. See United States v. Kammersell, 196 F.3d 1137, 1138-

 39 (10th Cir. 1999) (once communication crosses state lines, however briefly, jurisdictional

 element of section 875(c) is satisfied).

        That Defendant has not yet, to the government’s knowledge, engaged in actual violence

 toward these officials is irrelevant because, as noted above, the “prohibition on true threats

 ‘protect[s] individuals from the fear of violence’ and ‘from the disruption that fear engenders,’ in

 addition to protecting people ‘from the possibility that the threatened violence will occur.’” Black,



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 538 U.S. at 360 (quoting R.A.V. v. City of St. Paul, 505 U.S. 377, 388 (1992)). Nor would it matter

 if Defendant were to argue that he never intended to carry out the threats, since the government is

 under no obligation to prove as much. See id. Moreover, the fact that Defendant has not yet engaged

 in violence is not guarantee that he will not do so in the future.

        In our country, there are countless appropriate vehicles to communicate frustration, dissent,

 and anger with politicians and decisionmakers. “[V]ehement, caustic, and sometimes unpleasantly

 sharp attacks on government and public officials” often still fall within the bounds of the law. See

 Watts v. United States, 394 U.S. 705, 708 (1969). But Defendant’s communications were far, far

 beyond the line. The weight of the evidence against him is strong.

        C.      The History and Characteristics of the Defendant

        Defendant also has a lengthy history with the criminal justice system. He has a 2002 felony

 conviction for receipt of stolen property that appears to have been followed by multiple violations

 of probation. He has also had at least four driving under the influence convictions. Defendant

 himself has complained about the sheer breadth of his criminal history: in April 2024, he texted

 another individual, “I cannot believe the amount of money and the amount of time I have spent

 either in jail on probation for the crimes that I have committed.” This history, in conjunction with

 the evidence of Defendant’s characteristics described throughout this motion, suggests that

 Defendant should not be released.

        Section 3142(g)(3)(A) also requires an evaluation of a defendant’s “history relating to drug

 or alcohol abuse.” Aside from Defendant’s DUI-related criminal history discussed above, he

 appears to be growing a sizable amount of marijuana in an outbuilding adjacent to his home, as

 demonstrated by this screenshot from a video obtained from his Apple iCloud account:




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 At bottom, Defendant’s history and characteristics favor pre-trial detention here.

        D.      Nature and Seriousness of the Danger to Any Person or the Community

        Finally, Defendant poses a significant danger to specific individuals and to the community.

 He has targeted public officials and public employees based on work they have done in service to

 their communities and constituencies. He targeted them for years. After agents from the FBI

 contacted him, he doubled down and continued to post terrifying communications. In the ongoing

 contested election season, he poses a significant threat to the election officials who will be

 overseeing those elections and managing any potential disputes. As he re-enters the criminal

 justice system, he poses a threat to the state judges he previously threatened and to others involved

 in administering justice.

        And he poses an imminent risk to federal law enforcement agents. Should the Court release

 Defendant, it is possible that he would need to be re-arrested in order to guarantee his appearance

 at an arraignment on an Indictment. This would once again place federal agents, whom Defendant


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 has repeatedly and recently threatened, into harm’s way. And it is no idle concern: Defnedant has

 explained that he “will never be put in jail again. Never it will not happen I will not submit to

 crooked judges crooked cops crooked laws crookedness!” Although the loaded weapon by his door

 may no longer be in his home, the Court cannot ensure that Defendant (who somehow has amassed

 numerous weapons despite his status as a prohibited person) will not obtain access to new weapons.

 And Defendant’s statement during his August 23 post-arrest interview bears repeating as the Court

 considers whether federal agents can be protected if and when they are once again tasked with

 bringing Defendant back before the Court: “The only reason you guys didn’t come to my house is

 because you knew I would have fought.”

                                          CONCLUSION

           For the reasons described herein, the Court should detain Defendant until trial in this

 matter.

 DATED at Durango, Colorado this 27th day of August, 2024.



  MATT KIRSCH                                      COREY R. AMUNDSON
  Acting United States Attorney                    Chief, Public Integrity Section
  District of Colorado                             United States Department of Justice

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                                   CERTIFICATE OF SERVICE

         I certify that on this 27th day of August, 2024, I electronically filed the foregoing Motion

 for Detention with the Clerk of the Court using the CM/ECF system which will send notification

 of such filing to all counsel of record in this case.




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